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                  MEMORADUM

                  To: NizamAlibhai; Dr. Shaffn A. Mohamed

                  From: John N. Spicer "!~
                  Re: Vista Surgical Center - Services Agreement - Proposed Changes from Vista


                  Date: November 4, 2002



                  As you are aware, we reproduced internally the proposed Ambulatory Surgical Center
                  Use and Services Agreement with Vista Surgical Center. Afer such internal
                  reproduction I modified same and forwarded it to Tres Boyd who provided it to thè
                  person(s) at Vista. I have now been provided witha revision to our proposed ageement
                  and the newly proposed revisions are concernng. Those proposed revisions include the
                  following:

                         1) First and foremost the agreement has been changed to add a discretionar
                                    termination clause allowing either par the abilty to terminate the
                                    agreement for any reason upon 30 days notice to the other par.


                         2) Secondly, and as important, the payment schedule has been modified.
                                    Under the terms of the initial agreement we agreed to pay a fee of
                                    $1,000.00 per hour for each hour of time the center is actully used.
                                    Furher, we had the ability to block out certain time and swap around for
                                    time not used or scheduled. Under the latest terms proposed by Vista we
                                    are required to pay $10,000.00 for each Thursday regardless ofwhdher
                                    we use the time or not. Furher, there is no ability to schedule surgeries
                                    other than on Thursdays.

                         3) Under the terms of our initial agreement Vista would provide our
                                    company the biling codes, provider number etc and we would bil for the
                                    facility. Under the newly proposed agreement Vista wil not provide any
                                    such information and shall bil for such facilty on its own and charge to
                                    our company a percentage fee for such billng service. (The percentage is
                                    curently blank).


                         4) Vista wants all physicians who are associated or affiliated with our
                                    company to be designated in advance and only those designated shall have
                                    privileges at the surgical center.

                         5) Vista is to provide all anesthesiology servces and wil bil and        collect (for
                                    itself) such services.



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                    6) Vista has modified the supplies and equipment paragraph to state thatIt
                           will supply "the medical equipment and 'disposable' supplies" listed on an
                           attched exhibit. The exhibit was not attached and as such there s no
                           indication of   what they have agreed to supply.

                    7) The insurance requirements are changes to that reflected on an attched
                           exhibit, which exhibit was blan.

             The remaining changes in the agreement do not have much signficance other than
             cleanng up the agreement or makng other slight changes.




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